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                                 EXHIBIT 1
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                                         EXHIBIT "A" to Affidavit

                                IN THE UNITED STATES DISTRICT COURT
                                 FOR THE EASTERN DISTRICT OF TEXAS
                                           TYLER DIVISION

     GROUPCHATTER, LLC,                                  §
                                                         §
               Plaintiff                                 §
                                                         §
     vs.                                                 §    CAUSE NO. 6;18-CV-00590-JDK-KNM
                                                         §
     AT&T MOBILITY, LLC AND AT&T                         §
     SERVICES, INC.,                                     §
                                                         §
               Defendants.                               §



                                 SECOND AMENDED DOCKET CONTROL ORDER

            It is hereby ORDERED that the following deadlines are in effect until further order of this

   Court:

    3 DAYS after                  Parties to file Motion to Seal Trial Exhibits, if they wish to seal any
    conclusion of Trial           highly confidential exhibits.

                                  EXHIBITS: See Order Regarding Exhibits below.
   Trial Date                     9:00 a.m. JURY TRIAL before Judge Jeremy D. Kernodle, 221
   October 19, 2020               W. Ferguson St., 1st Floor, Tyler, Texas.

    Court designated date –       For planning purposes, parties shall be prepared to start the evidentiary
    not flexible without good     phase of trial immediately following jury selection.
    cause - Motion Required
   October 19, 2020               9:00 a.m. JURY SELECTION before Judge Jeremy D. Kernodle,
                                  221 W. Ferguson St., 1st Floor, Tyler, Texas.
   Court designated date – not
   flexible without good cause
   - Motion Required
   October 13, 2020               9:00 a.m. PRETRIAL CONFERENCE before Judge K. Nicole
                                  Mitchell, 211 W. Ferguson St., Rm. 353, Tyler, Texas.
    Court designated date –       Discuss trial logistics and voir dire procedure. Resolve any pending
    not flexible without good     motions or objections.
    cause - Motion Required
                                  Lead trial counsel must attend the pretrial conference.

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    October 6, 2020      File a Notice of Time Requested for (1) voir dire, (2) opening statements,
                         (3) direct and cross examinations, and (4) closing arguments.



    October 6, 2020      File Responses to Motions in Limine.



    September 29, 2020   File Motions in Limine and pretrial objections.

                         The parties are ORDERED to meet and confer to resolve any disputes efore
                         filing any motion in limine or objection to pretrial disclosures.


    September 29, 2020   File Joint Final Pretrial Order, Joint Proposed Jury Instructions with
                         citation to authority and Form of the Verdict for jury trials.

                         Parties shall use the pretrial order form on Judge Kernodle’s website if trial is
                         set before Judge Kernodle.

                         Proposed Findings of Fact and Conclusions of Law with citation to authority
                         for issues tried to the bench.


    September 22, 2020   Exchange Objections to Rebuttal Deposition Testimony.


    September 15, 2020   Notice of Request for Daily Transcript or Real Time Reporting of Court
                         Proceedings due.
                         If a daily transcript or real time reporting of court proceedings is requested for
                         trial or hearings, the party or parties making said request shall file a notice
                         with the Court.

    September 15, 2020   Exchange Rebuttal Designations and Objections to Deposition Testimony.
                         For rebuttal designations, cross examination line and page numbers to be
                         included.
                         In video depositions, each party is responsible for preparation of the final
                         edited video in accordance with their parties’ designations and the Court’s
                         rulings on objections.

    September 1, 2020    Exchange Pretrial Disclosures (Witness List, Deposition Designations, and
                         Exhibit List) by the Party with the Burden of Proof.
                         Video and Stenographic Deposition Designation due. Each party who
                         proposes to offer deposition testimony shall serve a disclosure identifying the
                         line and page numbers to be offered.




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    June 24, 2020               9:00 a.m. HEARING ON ANY REMAINING DISPOSITIVE MOTIONS
                                (INCLUDING DAUBERT MOTIONS) before Judge K. Nicole Mitchell,
                                211 W. Ferguson St., Rm. 353, Tyler, Texas.
    Court designated date –
    not flexible without good
    cause - Motion Required


    February 25, 2020           Any Remaining Dispositive Motions due from all parties and any other
                                motions that may require a hearing (including Daubert motions).
    Court designated date –
    not flexible without good   Motions shall comply with Local Rule CV-56 and Local Rule CV-7.
    cause - Motion Required     Motions to extend page limits will only be granted in exceptional
                                circumstances. Exceptional circumstances require more than agreement
                                among the parties.

                                Respond to Amended Pleadings.

    February 18, 2020           Parties to Identify Rebuttal Trial Witnesses.


    February 11, 2020           Parties to Identify Trial Witnesses; Amend Pleadings (after Markman
                                Hearing).

                                It is not necessary to file a Motion for Leave to Amend before the deadline
                                to amend pleadings. It is necessary to file a Motion for Leave to Amend after
                                the deadline. However, except as provided in Patent Rule 3-6, if the
                                amendment would affect infringement contentions or invalidity contentions,
                                a motion must be made pursuant to Patent Rule 3-6 irrespective of whether
                                the amendment is made prior to this deadline.

    February 13, 2020           Expert Discovery Deadline.


    January 28, 2020            Parties designate rebuttal expert witnesses (non-construction issues), rebuttal
                                expert witness reports due. Refer to Local Rules for required information.

                                If, without agreement, a party serves a supplemental expert report after the
                                rebuttal expert report deadline has passed, the serving party must file notice
                                with the Court stating service has occurred and the reason why a
                                supplemental report is necessary under the circumstances.

    December 31, 2019           Final Election of Asserted Prior Art.


    December 19, 2019           Parties with burden of proof designate expert witnesses (non-construction
                                issues). Expert witness reports due. Refer to Local Rules for required
                                information.


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    December 13, 2019           Fact discovery deadline.


    December 3, 2019            Final Election of Asserted Claims.


    November 14, 2019           Comply with P.R. 3-7. (Opinion of Counsel Defenses)


    October 24, 2019            Markman Hearing and hearing on any Motion for Summary Judgment
                                of Indefiniteness at 9:00 a.m. before Judge K. Nicole Mitchell, 211 W.
                                Ferguson St., Rm. 353, Tyler, Texas.
    Court designated date –
    not flexible without good
    cause – Motion Required


    October 10, 2019            P.R. 4-5(d) Chart due.
                                The parties are to meet and confer and jointly submit a claim construction
                                chart on computer disk in Word format listing each party’s proposed
                                construction for each of the terms to be addressed at the Markman hearing,
                                including any terms purported to be indefinite. The parties should prioritize
                                and list the terms in order of most importance; the Court will address the terms
                                in the prioritized order presented in the claim construction chart.

    October 3, 2019             Parties to file a notice with the Court stating the estimated amount of time
                                requested for the Markman Hearing. The Court will notify the parties if it is
                                unable to accommodate this request.
                                Comply with P.R. 4-5(c) - Reply brief and supporting evidence regarding
                                claim construction due. Plaintiff is to provide the Court with one (1) copy of
                                the completed Markman briefing in its entirety (opening brief, response, and
                                reply) and exhibits in a three-ring binder appropriately tabbed. All documents
                                SHALL be double-sided and must include the CM/ECF header. These copies
                                shall be delivered to Judge Mitchell’s chambers in Texarkana as soon as
                                briefing has completed.
                                If a technical advisor has been appointed the moving party is to provide their
                                Markman brief on disk or CD along with a hard copy, tabbed and bound with
                                exhibits to the advisor.

    September 26, 2019          Comply with P.R. 4-5(b) - Responsive claim construction brief and
                                supporting evidence due.

    September 12, 2019          Comply with P.R. 4-5(a) - The party claiming patent infringement shall serve
                                and file an opening brief and any evidence supporting its claim construction.
                                Briefing shall comply with Local Rules CV-7 and 56 and Patent Rule 4-5(e).
                                Motions to extend page limits will only be granted in exceptional
                                circumstances. Exceptional circumstances require more than joint agreement
                                among the parties.
                                Tutorials due. Deadline for parties, if they desire, to provide Court with
                                tutorials concerning technology involved in patent(s). The parties shall submit

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                         one (1) copy of their tutorials to the Court. If a technical advisor has been
                         appointed, each party that provides a tutorial shall provide a copy to the
                         advisor.
                         Preliminary Election of Asserted Prior Art.
    September 12, 2019   Proposed Technical Advisors due if one has not already been appointed.
                         Parties to provide name, address, phone number, and curriculum vitae for up
                         to three agreed technical advisors and information regarding the nominees’
                         availability for Markman hearing or a statement that an agreement could not
                         be reached. If the parties cannot agree on a technical advisor, they shall not
                         submit any proposed technical advisors to the Court. If the parties feel a
                         technical advisor is unnecessary, they shall alert the Court at this time.

    August 29, 2019      Discovery Deadline - Claim Construction Issues.
                         Preliminary Election of Asserted Claims.

    August 22, 2019      Respond to Amended Pleadings.


    August 8, 2019       Amended Pleadings (pre-claim construction) due from all parties,
                         including inequitable conduct allegations.
                         It is not necessary to file a Motion for Leave to Amend before the deadline to
                         amend pleadings. It is necessary to file a Motion for Leave to Amend after the
                         deadline. However, if the amendment would affect infringement contentions
                         or invalidity contentions, a motion must be made pursuant to Patent Rule 3-
                         6(b) irrespective of whether the amendment is made prior to this deadline.

    August 1, 2019       Comply with P.R. 4-3 - Filing of Joint Claim Construction and Prehearing
                         Statement.
                         In the P.R. 4-3 filing, the parties shall list the most significant terms according
                         to the parties’ priorities, which were agreed upon during the P.R. 4-2 meet and
                         confer, indicating which of those terms will be case or claim dispositive. A
                         maximum of 10 terms will be construed, unless parties have received other
                         instruction from the Court. If the parties cannot agree to the most important
                         10 terms, the parties shall identify the terms that were agreed upon and then
                         divide the remainder evenly between Plaintiff(s) and Defendant(s).
                         The nonmoving party subject to an indefiniteness challenge must provide a
                         preliminary identification of any expert testimony it intends to rely on in its
                         response to the moving party’s indefiniteness challenge. The nonmoving party
                         shall also provide a brief description of that witness’ proposed testimony.

    July 11, 2019        Comply with P.R. 4-2 - Exchange of Preliminary Claim Constructions and
                         Extrinsic Evidence. Privilege Logs to be exchanged by parties (or a letter to
                         the Court stating that there are no disputes as to claims of privileged
                         documents).

    July 1, 2019         Comply with P.R. 3-3 and 3-4 - Invalidity Contentions due. Thereafter,
                         except as provided in Patent Rule 3-6(a), it is necessary to obtain leave of

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                              Court to add and/or amend invalidity contentions, pursuant to Patent Rule 3-
                              6(b).
                              Defendant shall assert any counterclaims. After this deadline, leave of Court
                              must be obtained to assert any counterclaims.

    No. of trial days: 7      EXPECTED LENGTH OF TRIAL




          In the event that any of these dates fall on a weekend or Court holiday, the deadline is
   modified to be the next Court business day.

           The parties are directed to Local Rule CV-7(d), which provides in part that “[a] party’s
   failure to oppose a motion in the manner prescribed herein creates a presumption that the party
   does not controvert the facts set out by movant and has no evidence to offer in opposition to the
   motion.”

                                                Other Limitations

           (a) The following excuses will not warrant a continuance or justify a failure to comply with
   the discovery deadline:
                   (i) The fact that there are motions for summary judgment or motions to dismiss
   pending;
                   (ii) The fact that one or more of the attorneys is set for trial in another court on the
   same day, unless the other setting was made prior to the date of this order or was made as a special
   provision for the parties in the other case;
                   (iii) The failure to complete discovery prior to trial, unless the parties can
   demonstrate that it was impossible to complete discovery despite their good faith effort to do so.

           (b) Amendments to the Docket Control Order (“DCO”): Any motion to alter any date on
   the DCO shall take the form of a motion to amend the DCO. The motion shall include a chart in
   the format of the DCO that lists all of the remaining dates in one column (as above) and the
   proposed changes to each date in an additional adjacent column (if there is no change for a date
   the proposed date column should remain blank or indicate that it is unchanged). The motion to
   amend the DCO shall also include a proposed DCO in traditional two-column format that
   incorporates the requested changes and that also lists all remaining dates. In other words, the DCO
   in the proposed order should be complete such that one can clearly see all the remaining deadlines
   rather than needing to also refer to an earlier version of the DCO.
           (c) Indefiniteness: In lieu of early motions for summary judgment, the parties are directed
   to include any arguments related to the issue of indefiniteness in their Markman briefing, subject
   to the local rules’ normal page limits.
           (d) Motions in Limine: Each side is limited to one (1) motion in limine addressing no more
   than ten (10) disputed issues. In addition, the parties may file a joint motion in limine addressing
   any agreed issues. The Court views motions in limine as appropriate for those things that will
   create a proverbial “skunk in the jury box,” e.g., that, if mentioned in front of the jury before an
   evidentiary ruling can be made, would be so prejudicial that the Court could not alleviate the

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   prejudice with an appropriate instruction. Rulings on motions in limine do not exclude evidence,
   but prohibit the party from offering the disputed testimony prior to obtaining an evidentiary ruling
   during trial.
            (e) Exhibits: Each side is limited to designating 250 exhibits for trial absent a showing of
   good cause. The parties shall use the exhibit list sample form on Judge Kernodle’s website if trial
   is set before Judge Kernodle. The parties shall use the exhibit list sample form on Judge Mitchell’s
   website if trial is set before Judge Mitchell.
            (f) Deposition Designations: Each side is limited to designating no more than ten (10) hours
   of deposition testimony for use at trial absent a showing of good cause. As trial approaches, if
   either side needs to designate more than ten (10) hours, the party may file a motion for leave and
   show good cause. All depositions to be read into evidence as part of the parties’ case-in-chief shall
   be EDITED so as to exclude all unnecessary, repetitious and irrelevant testimony; ONLY those
   portions which are relevant to the issues in controversy shall be read into evidence.
            (g) Witness Lists: The parties shall use the sample form on Judge Kernodle’s website if
   trial is set before Judge Kernodle. The parties shall use the sample form on Judge Mitchell’s
   website if trial is set before Judge Mitchell.

                                       ORDER REGARDING EXHIBITS:

           A.      On the first day of trial, each party is required to have:

          (1)      One copy of their respective original exhibits on hand. Each exhibit shall be
   properly labeled with the following information: Identified as either Plaintiff’s or Defendant’s
   Exhibit, the Exhibit Number and the Case Number.
          (2)     Three hard copies of each party’s exhibit list and witness list on hand.
          (3)     One copy of all exhibits on USB Flash Drive(s) or portable hard drive(s). This shall
   be tendered to the Courtroom Deputy at the beginning of trial.

           B.      The parties shall follow the process below to admit exhibits.

           (1)      On the first day of trial, each party shall tender an “offered” list of exhibits it plans
   to admit into evidence that day which are NOT objected to, and read that list into the record. Parties
   shall entitle the list “[Plaintiff’s/Defendant’s] Exhibits Offered on [DATE].” If, during the course
   of the day’s testimony, a party wishes to offer an objected exhibit into evidence, the party may
   move for admission at the time it wishes to use that exhibit with a witness. The Court will then
   hear the opposing party’s objection and will rule on the objection at that time.

            (2)    On each subsequent day of trial, parties shall first read into the record any exhibits
   that were admitted over objection from the previous day. The parties shall next tender an “offered”
   list of any additional exhibits NOT objected to that it plans to admit that day, and read that list into
   the record. The list shall be entitled “[Plaintiff’s/Defendant’s] Exhibits Offered on [DATE].”
   Finally, the parties shall tender a separate running list of all previously admitted exhibits
   throughout the course of trial entitled “[Plaintiff’s/Defendant’s] Exhibits Previously Admitted
   through [DATE of the most recently completed trial day].”




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           (3)     At the conclusion of evidence, each party shall read any exhibit that was admitted
   over objection that day into the record and then tender its final list of every admitted exhibit,
   entitled “[Plaintiff’s/Defendant’s] Final List of All Admitted Exhibits.”

           C.     At the conclusion of evidence, each party shall be responsible for pulling those
   exhibits admitted at trial, whether used or not, and tender those to the Courtroom Deputy, who will
   verify the exhibits and tender them to the jury for their deliberations. One representative from each
   side shall meet with the Courtroom Deputy to verify the exhibit list.

           D.      At the conclusion of trial, all boxes of exhibits shall be returned to the respective
   parties and the parties are instructed to remove these exhibits from the courtroom.

          E.    Within five business days of the conclusion of trial, each party shall submit to the
   Courtroom Deputy:
             1) A Final Exhibit List of Exhibits Admitted During Trial in Word format.

              2) CD(s) containing admitted unsealed trial exhibits in PDF format. If the Court
                 ordered any exhibits sealed during trial, the Sealed Exhibits shall be submitted on
                 a separate CD. If tangible or over-sized exhibits were admitted, such exhibits shall
                 be substituted with a photograph in PDF format.
              3) A disk containing the transcripts of Video Depositions played during trial, along
                 with a copy of the actual video deposition.


               So ORDERED and SIGNED this 24th day of June, 2019.




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